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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION
                                ______________________

UNITED STATES OF AMERICA,

               Plaintiff,                             Case No. 1:05:CR:281
v.
                                                      HON. GORDON J. QUIST
ORONDE KHARI HAWKINS,

            Defendant.
______________________________/

                                             ORDER

       The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action. The Report and Recommendation was duly served on the parties,

and no objection has been made thereto within the time required by law.

       THEREFORE, IT IS ORDERED that:

       1.      The Report and Recommendation of the Magistrate Judge filed May 4, 2007, is

approved and adopted as the Opinion and Findings of this Court.

       2.      Defendant Oronde Khari Hawkins' plea of guilty to Count 1 of the Information is

accepted. Defendant Oronde Khari Hawkins is adjudicated guilty and bond will be revoked at the

time of reporting.

       3.      Defendant Oronde Khari Hawkins shall report to the United States Marshal in Grand

Rapids, Michigan, at 2:00 PM, Tuesday, June 5, 2007. Defendant Oronde Khari Hawkins shall be

detained pending sentencing.

       4.      A decision of whether to accept the written plea agreement will be made at the time

of sentencing after the Court has had the opportunity to review the Presentence Investigation Report.

See U.S.S.G. Ch. 6.


Dated: May 22, 2007                                         /s/ Gordon J. Quist
                                                           GORDON J. QUIST
                                                      UNITED STATES DISTRICT JUDGE
